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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7     FIRST 100, LLC,                                         Case No. 2:17-CV-1438 JCM (DJA)
                 8                                             Plaintiff(s),                      ORDER
                 9             v.
               10      CENLAR FSB, et al.,
               11                                            Defendant(s).
               12
               13             Presently before the court is the matter of First 100, LLC v. CENLAR, FSB et al, case
               14      number 2:17-cv-01438-JCM-DJA. On June 8, 2020, the Ninth Circuit Court of Appeals vacated
               15      this court’s grant of summary judgment in favor of Valley del Paradiso Homeowners Association.
               16      (ECF No. 110).
               17             Since the Ninth Circuit’s vacatur and remand, this case has stagnated. The parties are
               18      instructed to file a status report within 7 days of this order addressing what remains to be done, or
               19      in the alternative, file the appropriate motions to help move this case to a resolution.
               20             Accordingly,
               21             IT IS SO ORDERED.
               22             DATED September 25, 2020.
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               24                                                     UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
